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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND

 In re:                                        *

      KAREN L ODACHOWSKI                       *    Case No. 13-25155-RAG

                                               *             Chapter 13

              Debtor                           *

 *            *            *                   *               *     *           *

      NOTICE OF FINAL CURE PAYMENT AND OPPORTUNITY FOR HEARING


NOTICE IS HEREBY GIVEN by Robert S. Thomas, II, Chapter 13 Trustee, pursuant to
Bankruptcy Rule 3002.1(f), that the Debtor has paid in full the amount required to cure the
default on the claim secured by the principal residence of the Debtor(s), as evidenced by
the proof of claim allowed in this case and funded by the confirmed plan. The Trustee
payments were made under the claim filed by or on behalf of (or assigned to):

                                  (Court Claim No. 9)
                       US BANK TRUST NATIONAL ASSOCIATION
                          c/o SN SERVICING CORPORATION
                                   323 5th STREET
                                 EUREKA, CA 95501
                              Redacted Account No: 8314

The Trustee has no knowledge of and makes no representation concerning payment of
other default amounts not provided for and funded in the plan in this case.

THE PARTIES ARE HEREBY NOTIFIED:

Pursuant to Bankruptcy Rule 3002.1(g), within 21 days after service of this Notice, the
holder of the secured claim, or assignee, shall file and serve on the Debtor(s), the attorney
for the Debtor(s), and the Trustee, a statement indicating (1) whether it agrees that the
Debtor has paid in full the amount required to cure the default and (2) whether, consistent
with 11 U.S.C. §1322(b)(5), the Debtor is otherwise current on all payments. The
statement shall itemize any required cure or post-petition amounts that the holder
contends remain unpaid as of the date of the statement. The statement shall be filed as
a supplement to the holder’s proof of claim and is not subject to Rule 3001(f). Failure to
notify may result in sanctions. Upon the timely filing of a statement by the claimant, the
Debtor(s) or the Trustee may file within 21 days a motion requesting a hearing to
determine whether the amount required to cure the default and all required post-petition
amounts have been paid in full.

FURTHER, if the holder of the secured claim fails to timely file and serve a response
to this Notice, the Court may enter an order declaring that the Debtor(s) has/have
cured the default and that no amounts are unpaid as of the date of this Notice.
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 Date:    December 2, 2018                             /s/ Robert S. Thomas, II
                                                     Robert S. Thomas, II, Trustee
                                                     300 E Joppa Road, Suite #409
                                                     Towson, MD 21286
                                                     (410) 825-5923
                                                     inquiries@ch13balt.com
                                                     Chapter 13 Trustee



                              CERTIFICATE OF SERVICE

     I hereby certify that on the 3rd day of December, 2018, I reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the Notice of Final Cure
Payment will be served electronically by the Court’s CM/ECF system on the following:

         Edward C. Christman christman-fascetta@bankruptcymd.com

       I hereby certify that on the 3rd day of December, 2018, a copy of the Notice of
Final Cure Payment was also mailed first class mail, postage prepaid to:


         KAREN L ODACHOWSKI
         1674 JARRETTSVILLE ROAD
         JARRETTSVILLE, MD 21084

         US BANK TRUST NATIONAL ASSOCIATION
         c/o SN SERVICING CORPORATION
         323 5th STREET
         EUREKA, CA 95501

         MICHELLE GHIDOTTI-GONSALVES, TRANSFEREE’S AGENT
         US BANK TRUST NATIONAL ASSOCIATION
         C/O SN SERVICING CORPORATION
         323 5TH STREET
         EUREKA, CA 95501




                                                          /s/ Robert S. Thomas, II
                                                         Robert S. Thomas, II, Trustee
